      Case 2:24-cv-04055-JXN-LDW                   Document 225            Filed 01/16/25          Page 1 of 2 PageID:
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                                               State of New Jersey
PHILIP D. MURPHY                             OFFICE OF THE ATTORNEY GENERAL                                  MATTHEW J. PLATKIN
    Governor                               DEPARTMENT OF LAW AND PUBLIC SAFETY                                     Attorney General
                                                     DIVISION OF LAW
TAHESHA L. WAY                                            PO Box 45029                                       MICHAEL C. WALTERS
   Lt. Governor                                        Newark, NJ 07101                                            Acting Director


                                                       January 16, 2025

       VIA ECF
       Honorable Leda D. Wettre, U.S.M.J.
       United States District Court for the District of New Jersey
       Martin Luther King Jr. Federal Building & U.S. Courthouse
       50 Walnut Street
       Newark, New Jersey 07101

                         Re: United States, et al. v. Apple Inc.
                             Case No. 2:24-cv-04055 (JXN-LDW)
                             Notice of Substitution of Counsel

       Dear Judge Wettre:

               This Office, by and through Attorney General Matthew J. Platkin, represents Plaintiff New
       Jersey in the above-captioned matter. Pursuant to Local Civil Rule 102.1, I write to respectfully
       request that the Court approve my withdrawal as counsel for Plaintiff New Jersey, as I am
       departing the New Jersey Office of the Attorney General effective January 24, 2025.

               Please take notice that Plaintiff New Jersey substitutes as its lead counsel and attorney of
       record in this action Lauren E. Van Driesen, Deputy Attorney General, who entered her appearance
       on April 17, 2024. (See ECF No. 15.) All pleadings and other papers should be served upon Deputy
       Attorney General Lauren E. Van Driesen. Deputy Attorney General Isabella R. Pitt should be
       removed as attorney of record for New Jersey.

                  Thank you for your consideration of this matter.




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Case 2:24-cv-04055-JXN-LDW       Document 225       Filed 01/16/25    Page 2 of 2 PageID:
                                       1964


                                                                          January 16, 2025
                                                                                    Page 2

                                  Respectfully submitted,

                                  MATTHEW J. PLATKIN
                                  ATTORNEY GENERAL OF NEW JERSEY

                                  By:_/s/Isabella R. Pitt
                                        Isabella R. Pitt
                                        Deputy Attorney General
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                                        Minnesota, Nevada, New Hampshire, New York,
                                        North Dakota, Oklahoma, Oregon, Tennessee,
                                        Vermont, Washington, and Wisconsin


CC: All Counsel of Record (via ECF)
